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              IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF KANSAS


RUTH & RONALD HERBEL,                   )
                                        )
                   Plaintiffs,          )
                                        )
              v.                        )
                                        )
CITY OF MARION, KANSAS, et al.,         )   Case No. 24-2224-HLT-GEB
                                        )
                                        )
                   Defendants.          )
                                        )
_______________________________         )


   Plaintiffs’ Response to the Show-Cause Order re: Consolidation


      On June 18, 2024, this Court ordered Plaintiffs to show cause why their

case should not be consolidated with Debbie K. Gruver v. Gideon Cody, No. 23-

1179; Phyllis J. Zorn v. City of Marion, No. 24-2044; Cheri Bentz v. City of

Marion, No. 24-2120; and Eric Meyer v. City of Marion, 24-2122. The order

noted that this Court has already consolidated the other four cases for pretrial

purposes to promote judicial economy.

      Plaintiffs do not object to this Court also consolidating their case, for the

sole purpose of pretrial proceedings, with the other cases that arose from a

similar nucleus of facts. Plaintiffs note, however, that some facts, claims, and

parties differ between their case and the various cases filed by the Marion

County Record’s publisher and staff. Accordingly, Plaintiffs just wish to ensure
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that any consolidation order will not limit the scope of their discovery. With

that caveat, Plaintiffs consent to consolidation.

                                        Respectfully submitted,


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